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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 24-80011-CR-AMC

  UNITED STATES OF AMERICA

  vs.

  JAMIE MICHAEL LARKIN,

          Defendant.
                                         /

          THE UNITED STATES OF AMERICA’S RESPONSE TO DEFENDANT’S
                       REQUEST FOR SELF-SURRENDER

          The United States of America, through the undersigned counsel, files the following

  response as ordered by the Court (DE 31) to the Defendant’s forthcoming request for self-

  surrender. Based on the documented medical issues raised by the Defendant, the Government has

  no objection to his self-surrender.

                                                    Respectfully submitted,


                                                    MARKENZIE LAPOINTE
                                                    UNITED STATES ATTORNEY

  Date:   June 28, 2024                      By:    s/Timothy J. Abraham
                                                    TIMOTHY J. ABRAHAM
                                                    ASSISTANT U.S. ATTORNEY
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                                   CERTIFICATE OF SERVICE
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         I HEREBY CERTIFY that on June 28, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF which sent notice to the parties of record.

                                                     /s/Timothy J. Abraham
                                                     Timothy J. Abraham, AUSA




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